DATE: December 3, 2024


             The following cases in which the Court of Appeals issued published opinions have been
      appealed to the Supreme Court:

          1. Teddy Ray Cisneros
              v. Commonwealth of Virginia
             Record No. 1385-23-3
             Opinion rendered by Judge Huff on
              September 24, 2024

          2. Taylor B. Jolley
              v. Jason N. Ellis, et al.
             Record No. 0870-23-1
             Opinion rendered by Judge Lorish on
              October 1, 2024

          3. Kelly Leigh Harris
              v. Washington &amp; Lee University
             Record No. 1083-23-3
             Opinion rendered by Judge Athey on
              October 1, 2024

          4. Henri Mauricio Perez Flores
              v. Commonwealth of Virginia
             Record No. 1110-23-4
             Opinion rendered by Judge Lorish on
              October 1, 2024

          5. Tuscarora Marketplace Partners, LLC
              v. First National Bank
             Record No. 1465-23-3
             Opinion rendered by Judge Athey on
              October 1, 2024

          6. Yellow Mountain Village Mobil Home Park Association, et al.
              v. Yellow Mountain MHP, LLC
             Record No. 1638-23-3
             Opinion rendered by Judge Fulton on
              October 1, 2024
7. Woodrock River Walk LLC
    v. Lloyd Rice, et al.
   Record No. 1860-23-3
   Opinion rendered by Judge Ortiz on
    October 8, 2024

8. Zakeyis Ave’on Womack, s/k/a Zakeyis Aveon Womack
    v. Commonwealth of Virginia
   Record No. 2108-23-3
   Opinion rendered by Judge Athey on
    October 8, 2024
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Dilliraj Bista
    v. Commonwealth of Virginia
   Record No. 0904-21-4
   En banc opinion rendered by Judge O’Brien
     on September 12, 2023
   Judgment of Court of Appeals affirmed by opinion rendered on November 14, 2024
   (230721)

2. Taylor Amir Wallace
    v. Commonwealth of Virginia
   Record No. 1040-21-1
   En banc opinion rendered by Judge Ortiz
      on January 23, 2024
   Judgment of Court of Appeals reversed and judgment of trial court
      affirmed by published order on November 21, 2024 (240138)

3. James David Watwood
    v. Commonwealth of Virginia
   Record No. 1148-22-2
   Opinion rendered by Judge Malveaux
      on February 6, 2024
   Refused (240335)

4. Melissa Nanette Diaz
   v. Commonwealth of Virginia
   Record No. 0056-23-1
   Opinion rendered by Judge Fulton
     on February 27, 2024
   Refused (240325)

5. Samatha Maxine Stilwell
   v. Commonwealth of Virginia
   Record No. 0884-23-3
   Opinion rendered by Judge Causey
     on February 27, 2024
   Appeal dismissed on appellant’s motion (240265)

6. Christopher O. Parrish
   v. Mikeya Vance
   Record No. 1687-22-4
   Opinion rendered by Judge Causey
     on March 12, 2024
   Refused (240412)
7. Richard Rebh, et al.
   v. The County Board of Arlington County, Virginia
   Record No. 0240-23-4
   Opinion rendered by Judge Callins
     on May 7, 2024
   Petition for appeal dismissed by published order on November 27, 2024 (240493)
       On November 27, 2024, the Supreme Court issued an opinion in the following case, which
had been appealed from this Court:

    1. Stanley Edward Johnson, s/k/a, etc.
        v. Commonwealth of Virginia
       Record No. 0820-22-1
       Memorandum opinion rendered by Judge Lorish on August 1, 2023
       Judgment of Court of Appeals affirmed
       (230619)
